            Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 1 of 39




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

TEVA PHARMACEUTICALS
INTERNATIONAL GMBH
and TEVA
PHARMACEUTICALS USA,
INC.,

               Plaintiffs,                                 Civil Action No. _______________
       v.

ELI LILLY AND COMPANY,

                Defendant.



                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Teva Pharmaceuticals International GmbH (“Teva GmbH”) and Teva

Pharmaceuticals USA, Inc. (“Teva USA”) (collectively, “Plaintiffs” or “Teva”) bring this

action for patent infringement and declaratory judgment against Defendant Eli Lilly and

Company (“Eli Lilly”).

                                   NATURE OF THE ACTION

       1.       Teva brings this action to protect its intellectual property rights covering

breakthrough treatments for migraine headaches. Teva has invested heavily in this innovative

technology, and the potential benefit to the public is enormous. Over 1 billion people suffer

from migraine headaches worldwide. More than 38 million people experience migraine

headaches in the United States alone.

       2.       Migraine is a complex, common neurological condition that is characterized by

severe, episodic attacks of headache. Migraine can also cause nausea, vomiting, and sensitivity

to light, sound, or movement. In the United States and Western Europe, over 10% of the general

population suffers from migraine.
               Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 2 of 39



          3.       Teva’s corporate affiliate, Labrys Biologics, Inc. (“Labrys”), made a major

breakthrough in research for migraine treatment. Through years of painstaking study, Labrys

made important discoveries concerning the role that calcitonin gene-related peptide (“CGRP”)

plays in migraine headaches. Armed with that knowledge, Labrys developed a biologic product

with an active ingredient, fremanezumab—a humanized monoclonal antibody that targets

CGRP. This new product has been shown to prevent and/or reduce the incidence of migraines.

Fremanezumab has the potential to help tens of millions of migraine sufferers in the United

States.

          4.       Labrys’ innovations are protected by at least U.S. Patent Nos. 8,586,045;

8,597,649; 9,266,951; 9,340,614; 9,346,881; 9,884,907; 9,884,908; 9,890,210; and 9,890,211

(“the Patents-in-Suit”). Labrys assigned the Patents-in-Suit to Teva on September 19, 2016.

Teva, in turn, has continued to invest in fremanezumab to bring the product to market. On

October 16, 2017, Teva Branded Pharmaceutical Products R&D, Inc. submitted a Biologics

License Application (“BLA”) to the Food and Drug Administration (“FDA”) seeking

approval to market fremanezumab for the treatment of episodic and chronic migraine. On or

about March 22, 2018, Teva Branded Pharmaceuticals Products R&D, Inc. transferred the

BLA seeking approval to market fremanezumab for the treatment of episodic and chronic

migraine to Teva Pharmaceuticals USA, Inc. On September 19, 2018, Teva received FDA

approval to market fremanezumab in the United States under the brand name Ajovy™. See

Ex. 28. Teva Pharmaceuticals USA, Inc. is the exclusive distributor of Ajovy™ within the

United States.

          5.       Eli Lilly is aware of the Patents-in-Suit, but nonetheless is, upon information and

belief, in the process of launching its own competing biologic product with the active ingredient

galcanezumab, which will undermine the value of Teva’s substantial investment in the Patents-
                                                    2
            Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 3 of 39



in-Suit. This product is also known as LY2951742 (the “Galcanezumab Product”). Like

Teva’s patented fremanezumab product, Eli Lilly’s infringing Galcanezumab Product is an

antibody that targets CGRP. On October 24, 2017, Eli Lilly publicly stated that it had

submitted its own BLA for the Galcanezumab Product. Ex. 1 at 3. Through its public

statements and commercial activity, Eli Lilly made clear that it intended to enter the market

with its Galcanezumab Product as soon as it received FDA approval.

       6.       On September 27, 2018, Eli Lilly obtained FDA approval to market its

Galcanezumab Product in the United States under the brand name Emgality™. See Ex. 29. The

Eli Lilly press release describing the approval states that “Emgality will be available to patients

shortly after approval.” Id. This demonstrates that the commercial launch of Emgality™ is

imminent, and upon information and belief, Lilly is offering for sale, selling, manufacturing

and/or importing , Emgality™ into the United States.

       7.       Eli Lilly’s commercial manufacture, importation, offers to sell, and sales of its

Galcanezumab Product will directly infringe, and/or actively induce and/or contribute to

infringement of, claims of each of the Patents-in-Suit. Teva files this action to recover damages

suffered as result of Lilly’s infringing conduct, to secure a judicial declaration that Eli Lilly has

infringed the Patents-in-Suit, and to prevent Eli Lilly from any future infringement.

                                          THE PARTIES

       8.       Teva GmbH is a limited liability company organized and existing under the

laws of Switzerland, having its corporate offices and principal place of business at

Schlüsselstrasse 12, Jona (SG) 8645, Switzerland. Teva GmbH owns the Patents-in-Suit.

       9.       Teva USA is a Delaware corporation organized and existing under the laws of

Delaware, having its place of business at 1090 Horsham Road, North Wales, Pennsylvania

19454-1090. Teva USA holds an exclusive license to the Patents-in-Suit.
                                                  3
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 4 of 39



       10.     Upon information and belief, Eli Lilly is a corporation organized and

existing under the laws of the State of Indiana. Eli Lilly has corporate offices at Corporate

Center, Indianapolis, Indiana 46285. Eli Lilly also has regular and established places of

business in other jurisdictions, including in the Commonwealth of Massachusetts.

                                JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338(a) and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       12.     This Court has personal jurisdiction over Eli Lilly because Eli Lilly has

extensive contacts with the Commonwealth of Massachusetts that directly relate to this suit.

       13.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) because

Eli Lilly resides in this District. See 28 U.S.C. § 1391(c)(2). Venue is also proper in this

Judicial District pursuant to 28 U.S.C. § 1400(b) because Eli Lilly has a regular and established

place of business in Massachusetts and is committing (or will imminently commit) acts of

infringement in the Commonwealth based on the FDA approval and commercial launch of its

Galcanezumab Product.

       A.      Eli Lilly Has Received FDA Approval, Allowing the Immediate Commercial
               Launch of its Galcanezumab Product.

       14.     There is an actual controversy regarding Eli Lilly’s infringement of the Patents-

in-Suit by commercially manufacturing, offering to sell, and selling the Galcanezumab

Product. Eli Lilly engaged in extensive preparations to bring its Galcanezumab Product to

market in the immediate future, including submitting a BLA to the FDA for approval to market

and sell the Galcanezumab Product for the prevention of both episodic and chronic migraine.

       15.     Over the course of the past year, Eli Lilly made many public statements

representing that it expected to receive FDA approval of its Galcanezumab Product and

indicating that it planned to commercially launch the Galcanezumab Product as soon as the
                                               4
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 5 of 39



FDA approved its BLA.

       16.     Eli Lilly has completed all of the Phase III clinical trials it believes are

necessary to support its application for FDA approval to market the Galcanezumab Product in

the United States. On October 24, 2017, Eli Lilly confirmed that it submitted a BLA with the

FDA to market and sell the Galcanezumab Product for the prevention of both episodic and

chronic migraine. This filing signaled a serious commitment by Eli Lilly to imminently launch

the Galcanezumab Product, because filing a BLA represents a substantial undertaking and

investment.

       17.     Eli Lilly publicly expressed confidence that the FDA would approve its BLA in

2018. Eli Lilly made these statements in a special call with investors and at the Annual J.P.

Morgan Healthcare Conference. See Ex. 2 at 19-20; Ex. 3 at 19. Several of these statements

were made by C-level executives at Eli Lilly. In its June 28, 2017 Form 10-Q submitted to the

U.S. Securities and Exchange Commission, Eli Lilly identified the Galcanezumab Product as

being in Eli Lilly’s “late-stage pipeline.” Ex. 4 at 38.

       18.     Eli Lilly publicly confirmed that it had incorporated the expected launch of its

Galcanezumab Product into its long-term revenue growth guidance for investors. For example,

during the question and answer portion of a July 25, 2017 Eli Lilly earnings call, Eli Lilly CFO

and Executive VP of Global Services, Derica Rice, responded to the question “[o]n

galcanezumab . . . is the launch reflected in your long-term revenue growth guidance?” by

saying “[y]es, the simple answer is yes.” Ex. 5 at 20, 21.

       19.     Eli Lilly’s expectation that it would receive FDA approval to market the

Galcanezumab Product in the very near future was consistent with the FDA’s practice for

reviewing and approving BLAs. In 2016, the median total approval time for BLAs from the

date of filing was just 10.1 months. See Ex. 6 at 1. In fact, the FDA has established a goal of
                                                 5
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 6 of 39



acting on 90% of BLAs within 10 months of the 60-day filing date (the 60-day filing date is the

window of time in which the FDA decides whether to accept an application for substantive

review). See Ex. 7 at 4.

       20.     On September 21, 2018, Eli Lilly issued a press release announcing that “the

European Medicines Agency’s (EMA) Committee for Medicinal Products for Human Use

(CHMP) has issued a positive opinion for Emgality™ (galcanezumab) for the prophylaxis of

migraine in adults who have at least four migraine days per month.” Ex. 36 at 1. Eli Lilly

characterized this result as “the first regulatory step toward approval for Emgality in Europe.”

Id. This press release also addressed the FDA approval process for Emgality™ in the United

States and stated that “a decision regarding approval is expected by the end of September

2018.” Id.

       21.     Eli Lilly’s efforts culminated in the announcement on September 27, 2018 that

FDA had approved Eli Lilly’s BLA, clearing the way for the commercial launch of the

Galcanezumab Product in the United States. See Ex. 29.

       B.      Commercial Sales of The Galcanezumab Product Are Imminent.

       22.     Even before receiving FDA approval, Eli Lilly engaged in extensive

preparations to allow for an immediate commercial launch of its Galcanezumab Product

following FDA approval. For example, Eli Lilly instituted substantial marketing efforts

directed at healthcare providers to raise awareness of migraine treatment, developed education

materials about migraine, and built a sales force to launch the Galcanezumab Product. These

activities are generally undertaken by a pharmaceutical company when a product’s launch is

imminent. Eli Lilly engaged in these efforts in the United States generally and in

Massachusetts specifically.

       23.     Eli Lilly invested heavily in developing an online presence directed to healthcare

                                                6
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 7 of 39



providers, in the United States and Massachusetts, to promote migraine treatments and CGRP’s

role in migraine. For example, Eli Lilly established a Twitter account named

@LillyMigraine in June 2017. See Ex. 8 at 1 (“Lilly Migraine U.S. @LillyMigraine,”

TWITTER, https://twitter.com/lillymigraine (last visited Oct. 24, 2017)).

       24.     As early as October 2017, Eli Lilly was building a sales force to support the

launch of its Galcanezumab Product, including in Massachusetts specifically. Eli Lilly’s job

board listed open positions for twenty-five sales representative positions who would be

assigned to market the Galcanezumab Product once it is approved by the FDA. At least one

of those positions was in Massachusetts. For example, Eli Lilly advertised a “Sales

Representative—Neuroscience” position for “Boston, Massachusetts.” Eli Lilly’s job board

stated that “[u]pon the anticipated approval of Galca [i.e., the Galcanezumab Product], this

position will primarily focus on the successful launch of Galca.” See Ex. 10 at 2.

       25.     On June 27, 2018, Eli Lilly announced that the FDA conditionally accepted a

brand name for its Galcanezumab Product—Emgality™. Ex. 30 at 1. Eli Lilly has filed

trademark applications with the U.S. Patent and Trademark Office to protect the Emgality™

name and logo, and received Notices of Allowance for these marks on June 6, 2017, and

October 17, 2017, respectively. Ex. 31.

       C.      Eli Lilly Knows Its Galcanezumab Product Infringes The Patents-in-Suit.

       26.     Eli Lilly tracks and follows Teva’s patents related to the treatment of migraine

as it relates to CGRP. For that reason, Teva is informed and believes that Eli Lilly knows about

the Patents-in-Suit and the barrier that they pose to commercially launching the Galcanezumab

Product in the United States.

       27.     On July 16, 2014, Eli Lilly initiated an opposition to European Patent No.

1957106 B1, titled “Antagonist antibodies directed against calcitonin gene-related peptide and

                                                7
            Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 8 of 39



methods using the same” (“EP 1957106”). Ex. 11. Eli Lilly knows that EP 1957106 has

important implications for its Galcanezumab Product. The background section of Eli Lilly’s

opposition filing describes the role of CGRP in migraine and the history and shortcomings of

small molecule (i.e., non-biologic) treatments for migraine. Id. at 4-5. The opposition also

notes Eli Lilly’s belief that EP 1957106 “provide[s] a very broad scope of protection” that

“encompasses almost all anti-CGRP antagonist antibodies that may have therapeutic utility.”

Id. at 9.

        28.     Eli Lilly also knows that there are United States patents in the same family as EP

1957106, including the Patents-in-Suit. EP 1957106 claims a related invention to the Patents-

in-Suit, and Eli Lilly noted in its opposition papers that EP 1957106 claims priority to

provisional U.S. Application No. 60/736,623 (“the ʼ623 application”). Ex. 11 at 2. All of the

Patents-in-Suit also claim priority to the ʼ623 application, and several of the applications that

issued as the Patents-in-Suit had already been published by the United States Patent Office

before Eli Lilly submitted its opposition to EP 1957106. All of the applications that issued as

the Patents-in-Suit were published by the end of 2015, before Eli Lilly submitted additional

opposition papers throughout 2016 that continued to reference the ʼ623 application. Ex. 12 at

9- 10; Ex. 11 at 11. In February 2017, the European Patent Office found that EP 1957106 is

entitled to the priority date of the ʼ623 application. Ex. 13 at Sheet 9-11.

        29.     Upon information and belief, Eli Lilly pressed ahead with its BLA filing even

though it knows that its Galcanezumab Product infringes the Patents-in-Suit. During a June 19,

2017, “special call” with investors, Eli Lilly Global Brand Development Leader for Migraine,

Robert Conley, responded to a question asking whether Eli Lilly “intend[s] to file” for approval

of its Galcanezumab Product “in Europe given the patent issues” and whether he thought “those

patent issues are relevant in the U.S.” by stating that, considering “the specifics of this case,”

                                                 8
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 9 of 39



Eli Lilly “certainly [is] planning . . . on FDA submission.” See Ex. 14 at 10-11.

       30.       Eli Lilly also continued to pursue approval of its BLA even after Teva filed

actions seeking declaratory relief that Eli Lilly’s planned commercial launch of the

Galcanezumab Product would infringe the Patents-in-Suit.

       31.       Eli Lilly has already created a case and controversy regarding the validity of

six of the nine patents-in-suit by initiating Inter Partes Review (“IPR”) proceedings against

these patents before the Patent Trial and Appeal Board (“PTAB”). Because, as described

above, Eli Lilly knows its Galcanezumab Product will infringe these patents, these IPR filings

demonstrate that commercial launch of the Galcanezumab Product is imminent.

       32.     On August 8, 2018, Eli Lilly filed six individual IPR petitions alleging that

U.S. Patent Nos. 8,597,649, 9,266,951, 9,340,614, 9,266,951, 9,346,881, 9,890,210,

9,890,211, are each invalid as obvious. The IPR docket numbers corresponding to Eli Lilly’s

filings against each of these Patents-in-Suit are, respectively, IPR2018-01427, IPR2018-

01423, IPR2018-01422, IPR2018-01424, IPR2018-01425, and IPR2018-01426. As described

in detail below, Teva asserts that Eli Lilly’s Galcanezumab Product infringes each of these six

Patents-in-Suit.

       D.      Eli Lilly Has A Substantial And Continuous Presence In This Judicial
               District And Intends To Commit Acts Of Infringement In
               Massachusetts.

       33.     Eli Lilly has extensive contacts with the Commonwealth of Massachusetts and

is actively engaged in the business of marketing and selling pharmaceutical products in

Massachusetts. Moreover, this suit is directly related to Eli Lilly’s contacts with

Massachusetts.

               1.       Eli Lilly Has A Long History Connecting
                        Its Business To Massachusetts.

       34.     Eli Lilly is registered to do business in the Commonwealth of Massachusetts
                                                 9
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 10 of 39



and has designated National Registered Agents, Inc., 155 Federal Street, Suite 700, Boston,

MA 02110 as its registered agent for service of process in Massachusetts. See Ex. 15 at 1.

       35.     Eli Lilly filed a Foreign Corporation Certificate of Registration in the

Commonwealth of Massachusetts. As a registered Foreign Corporation, Eli Lilly is required

to file Annual Reports with the Commonwealth.

       36.     In its January 24, 2017 Annual Report filed with Massachusetts, Eli Lilly

described its business in the Commonwealth as “pharmaceutical manufacturing and sales.”

See Ex. 15 at 2.

       37.     Eli Lilly has dozens of pharmaceutical drug products that it currently

markets, sells, and distributes in Massachusetts. See Ex. 16 (“Products,” ELI LILLY AND

COMPANY, https://www.lilly.com/products (last visited September 27, 2018)).

       38.     Eli Lilly also employs consultants and sales people in Massachusetts to work

with Massachusetts healthcare providers.

               2.     Eli Lilly Has A Regular And Established
                      Place Of Business In Massachusetts.

       39.     As of October 24, 2017, Eli Lilly’s public website lists the following address

as one of its “U.S. Locations:”

       Cambridge, MA
       Eli Lilly and Company 450 Kendall Street
       Cambridge, MA 02142
       +1-617-225-3226

See Ex. 17 at 1.

       40.     The Cambridge, Massachusetts address is home to Eli Lilly’s “Cambridge

Innovation Center” (“Innovation Center”). The Innovation Center serves as a location for the

company’s research and development efforts with respect to drug delivery and device

innovation. This Innovation Center includes research into treatments for pain and biologics
                                                10
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 11 of 39



that require injections.

        41.     In a May 6, 2015 video discussing the Innovation Center, Eli Lilly Vice

President of Delivery and Device Research, Divakar Rmakrishnan, explained that the

Innovation Center was created to employ “a subset of [Eli Lilly’s] R&D Group.” See Ex. 18

(Introducing Lilly’s Cambridge Innovation Center Video, at 0:00 to 0:18, ELI LILLY AND

COMPANY, May 6, 2015, available at https://careers.lilly.com/Cambridge-Innovation-Center).

        42.     On May 6, 2015, Eli Lilly issued a press release concerning the Innovation

Center. Eli Lilly’s then Chairman, President, and CEO John Lechleiter made numerous

public statements about the Innovation Center. Ex. 19.

        43.     Mr. Lechleiter stated that Eli Lilly planned to employ “about 30 scientists and

engineers” at the Innovation Center, which would increase Eli Lilly’s “delivery and device

research and development space by nearly 50 percent, while increasing its staff by 25

percent.” See id. at 1.

        44.     Mr. Lechleiter announced in that press conference that “[n]ew drug delivery

and device innovation is critically important to Lilly’s growing portfolio of potential

medicines, particularly in our focus areas,” which includes treatments for “pain.” Id. The

press release added that “[m]ore than half of the company’s pipeline now comprises biologics

that require some type of injection” and that “[t]he company expects its revenues from

device-enabled products to double by 2020.” Id.

        45.     The Galcanezumab Product is a biologic product that is administered by

injection and, upon information and belief, is part of the Innovation Center’s mandate.

                                   THE PATENTS-IN-SUIT
       A.      U.S. Patent No. 8,586,045

        46.     On November 19, 2013, United States Patent No. 8,586,045 (“the ’045 patent”),

                                                11
        Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 12 of 39



titled “Methods of Using Anti-CGRP Antagonist Antibodies,” issued to Labrys Biologics, Inc.

as assignee of the named inventors Joerg Zeller, Kristian T. Poulsen, Yasmina N. Abdiche,

Jaume Pons, Sierra Leigh Jones Collier, and Arnon Rosenthal. A copy of the ’045 patent is

attached as Exhibit 20.

       47.     On July 21, 2014, Labrys Biologics, Inc. was acquired by Teva

Pharmaceuticals USA, Inc. A confirmatory assignment of the ’045 patent from Labrys to

Teva Pharmaceuticals International GmbH was executed on September 19, 2016. The ’045

patent is valid and enforceable.

       48.     The claims of the ’045 patent are directed to methods for reducing incidence of

or treating at least one vasomotor symptom including, for example, headache in an individual.

These methods comprise administering to the individual an effective amount of a human or

humanized anti-CGRP antagonist antibody.

       49.     An anti-CGRP antagonist antibody is able to bind to CGRP and inhibit CGRP

biological activity and/or downstream pathway(s) mediated by CGRP signaling.

       50.     The ’045 patent states that vasomotor symptoms include migraine.

       B.      U.S. Patent No. 8,597,649

       51.     On December 3, 2013, United States Patent No. 8,597,649 (“the ’649 patent”),

titled “Antagonist Antibodies Directed Against Calcitonin Gene-Related Peptide and Methods

Using Same,” issued to Labrys Biologics, Inc. as assignee of the named inventors Joerg Zeller,

Kristian T. Poulsen, Yasmina N. Abdiche, Jaume Pons, Sierra Leigh Jones Collier, and Arnon

Rosenthal. A copy of the ’649 patent is attached as Exhibit 21.

       52.     A confirmatory assignment of the ’649 patent from Labrys to Teva was executed

on September 19, 2016. The ’649 patent is valid and enforceable.

       53.     The claims of the ’649 patent are directed to an isolated human or humanized

                                               12
          Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 13 of 39



anti-CGRP antagonist antibody with a binding affinity (KD) to human α-CGRP of 50 nM or less

as measured by surface plasmon resonance at 37º C.

       C.      U.S. Patent No. 9,266,951

       54.     On February 23, 2016, United States Patent No. 9,266,951 (“the ’951 patent”),

titled “Antagonist antibodies directed against calcitonin gene-related peptide and methods using

same,” issued to Labrys Biologics, Inc. as assignee of the named inventors Joerg Zeller,

Kristian T. Poulsen, Yasmina N. Abdiche, Jaume Pons, Sierra Leigh Jones Collier, and Arnon

Rosenthal. A copy of the ’951 patent is attached as Exhibit 22.

       55.     A confirmatory assignment of the ’951 patent from Labrys to Teva was executed

on September 19, 2016. The ’951 patent is valid and enforceable.

       56.     The claims of the ’951 patent are directed to a human or humanized monoclonal

anti-CGRP antagonist antibody that binds human α-CGRP and inhibits cyclic adenosine

monophosphate (cAMP) activation in cells.

       D.      U.S Patent No. 9,340,614

       57.     On May 17, 2016, United States Patent No. 9,340,614 (“the ’614 patent”), titled

“Antagonist antibodies directed against calcitonin gene-related peptide and methods using

same,” issued to Labrys Biologics, Inc. as assignee of the named inventors Joerg Zeller,

Kristian T. Poulsen, Yasmina N. Abdiche, Jaume Pons, Sierra Leigh Jones Collier, and Arnon

Rosenthal. A copy of the ’614 patent is attached as Exhibit 23.

       58.     A confirmatory assignment of the ’614 patent from Labrys to Teva was executed

on September 19, 2016. The ’614 patent is valid and enforceable.

       59.     The claims of the ’614 patent are directed to a human or humanized, monoclonal

anti-CGRP antagonist antibody that preferentially binds to human α-CGRP as compared to

amylin.

                                               13
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 14 of 39




       E.      U.S Patent No. 9,346,881

       60.     On May 24, 2016, United States Patent No. 9,346,881 (“the ’881 patent”), titled

“Antagonist antibodies directed against calcitonin gene-related peptide and methods using

same,” issued to Labrys Biologics, Inc. as assignee of the named inventors Joerg Zeller,

Kristian T. Poulsen, Yasmina N. Abdiche, Jaume Pons, Sierra Leigh Jones Collier, and Arnon

Rosenthal. A copy of the ’881 patent is attached as Exhibit 24.

       61.     A confirmatory assignment of the ’881 patent from Labrys to Teva was executed

on September 19, 2016. The ʼ881 patent is valid and enforceable.

       62.     The claims of the ’881 patent are directed to a human or humanized, monoclonal

anti-CGRP antagonist antibody that binds human α-CGRP and inhibits human α-CGRP from

binding to its receptor as measured by a radioligand binding assay in SK-N-MC cells.

       F.      U.S. Patent No. 9,884,907

       63.     On February 6, 2018, United States Patent No. 9,884,907 (“the ’907 patent”),

titled “Methods for treating headache using antagonist antibodies directed against calcitonin

gene-related peptide,” issued to Teva Pharmaceuticals International GmbH as assignee of the

named inventors Joerg Zeller, Kristian T. Poulsen, Yasmina Noubia Abdiche, Jaume Pons,

Sierra Jones Collier, and Arnon Rosenthal. A copy of the ’907 patent is attached as Exhibit

32.

       64.     The ’907 patent is valid and enforceable.

       65.     The claims of the ’907 patent are directed to a method of treating headache in an

individual, comprising administering to the individual an effective amount of a humanized

monoclonal anti-CGRP antagonist antibody, comprising: two human IgG heavy chains, each

heavy chain comprising three complementarity determining regions (CDRs) and four
                                               14
        Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 15 of 39



framework regions, wherein portions of the two heavy chains together form an Fc region; and

two light chains, each light chain comprising three CDRs and four framework regions; wherein

the CDRs impart to the antibody specific binding to a CGRP consisting of amino acid residues

1 to 37 of SEQ ID NO:15 or SEQ ID NO:43.

       66.     The ’907 patent discloses that headache includes migraine.

       67.     The ’907 patent discloses that SEQ ID NO:15 recites the amino acid sequence of

human α-CGRP and SEQ ID NO:43 recites the amino acid sequence of human β-CGRP.

       G.      U.S. Patent No. 9,884,908

       68.     On February 6, 2018, United States Patent No. 9,884,908 (“the ’908 patent”),

titled “Antagonist antibodies directed against calcitonin gene-related peptide and methods using

same,” issued to Teva Pharmaceuticals International GmbH as assignee of the named inventors

Joerg Zeller, Kristian T. Poulsen, Yasmina Noubia Abdiche, Jaume Pons, Sierra Jones Collier,

and Arnon Rosenthal. A copy of the ’908 patent is attached as Exhibit 33.

       69.     The ’908 patent is valid and enforceable.

       70.     The claims of the ’908 patent are directed to a method of treating headache in an

individual, comprising: administering to the individual an effective amount of a humanized

monoclonal anti-CGRP antagonist antibody, comprising: two human IgG heavy chains, each

heavy chain comprising three CDRs and four framework regions, wherein portions of the two

heavy chains together form an Fc region; and two light chains, each light chain comprising

three CDRs and four framework regions; wherein the CDRs impart to the antibody specific

binding to a CGRP consisting of amino acid residues 1 to 37 of SEQ ID NO:15 or SEQ ID

NO:43, and wherein the antibody binds to the CGRP with a binding affinity (KD) of about 10

nM or less as measured by surface plasmon resonance at 37º C.

       71.     The ’908 patent discloses that headache includes migraine.

                                               15
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 16 of 39



       72.     The ’908 patent discloses that SEQ ID NO:15 recites the amino acid sequence of

human α-CGRP and SEQ ID NO:43 recites the amino acid sequence of human β-CGRP.

       H.      U.S. Patent No. 9,890,210

       73.     On February 13, 2018, United States Patent No. 9,890,210 (“the ’210 patent”),

titled “Antagonist antibodies directed against calcitonin gene-related peptide,” issued to Teva

Pharmaceuticals International GmbH as assignee of the named inventors Joerg Zeller, Kristian

T. Poulsen, Yasmina Noubia Abdiche, Jaume Pons, Sierra Jones Collier, and Arnon

Rosenthal. A copy of the ’210 patent is attached as Exhibit 34.

       74.     The ’210 patent is valid and enforceable.

       75.     The claims of the ’210 patent are directed to a humanized monoclonal anti-

CGRP antagonist antibody, comprising: two human IgG heavy chains, each heavy chain

comprising three CDRs and four framework regions, wherein portions of the two heavy chains

together form an Fc region; and two light chains, each light chain comprising three CDRs and

four framework regions; wherein the CDRs impart to the antibody specific binding to a CGRP

consisting of amino acid residues 1 to 37 of SEQ ID NO: 15 or SEQ ID NO: 43.

       76.     The ’210 patent discloses that SEQ ID NO:15 recites the amino acid sequence of

human α-CGRP and SEQ ID NO:43 recites the amino acid sequence of human β-CGRP.

       I.      U.S. Patent No. 9,890,211

       77.     On February 13, 2018, United States Patent No. 9,890,211 (“the ’211 patent”),

titled “Antagonist antibodies directed against calcitonin gene-related peptide,” issued to Teva

Pharmaceuticals International GmbH as assignee of the named inventors Joerg Zeller, Kristian

T. Poulsen, Yasmina Noubia Abdiche, Jaume Pons, Sierra Jones Collier, and Arnon Rosenthal.

A copy of the ’211 patent is attached as Exhibit 35.

       78.     The ’211 patent is valid and enforceable.

                                                16
        Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 17 of 39



       79.      The claims of the ’211 patent are directed to a humanized monoclonal anti-

CGRP antagonist antibody, comprising: two human IgG heavy chains, each heavy chain

comprising three CDRs and four framework regions, wherein portions of the two heavy chains

together form an Fc region; and two light chains, each light chain comprising three CDRs and

four framework regions; wherein the CDRs impart to the antibody specific binding to a CGRP

consisting of amino acid residues 1 to 37 of SEQ ID NO: 15 or SEQ ID NO: 43, and wherein

the antibody binds to the CGRP with a binding affinity (KD) of about 10 nM or less as

measured by surface plasmon resonance at 37°C.

       80.      The ’211 patent discloses that SEQ ID NO:15 recites the amino acid sequence of

human α-CGRP and SEQ ID NO:43 recites the amino acid sequence of human β-CGRP.

                          DEFENDANT’S INFRINGING CONDUCT

       81.      On October 24, 2017, Eli Lilly confirmed that it has submitted a BLA

requesting approval of its Galcanezumab Product for the prevention of both episodic and

chronic migraine.

       82.      On September 27, 2018, FDA approved Eli Lilly’s BLA, clearing the way for

the commercial launch of the Galcanezumab Product under the brand name Emgality™.

       83.      The Galcanezumab Product contains the humanized monoclonal antibody

galcanezumab.

       84.      Galcanezumab is able to bind to CGRP and inhibit CGRP biological activity

and/or downstream pathway(s) mediated by CGRP signaling. See Ex. 25

(https://www.lilly.com/pipeline/10.html (last visited on October 24, 2017)); see also Ex. 26,

Benschop, et al., “Development of a novel antibody to calcitonin gene-related peptide for the

treatment of osteoarthritis-related pain,” OSTEOARTHRITIS AND CARTILAGE, 22:578-585, 2014

(“Benschop”).
                                               17
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 18 of 39



       85.     Galcanezumab is a humanized monoclonal antibody. Ex. 27, Vermeersch, et

al., “Translational Pharmacodynamics of Calcitonin Gene-Related Peptide Monoclonal

Antibody LY2951742 in Capsaicin-Induced Dermal Blood Flow Model,” J. PHARMACOL.

EXP. THERA., 354:350-357, September 2015.

       86.     Galcanezumab binds to human α-CGRP. Ex. 27, Vermeersch at p. 350.

       87.     Galcanezumab prevents CGRP from binding to its receptor as measured by a

radioligand binding assay in SK-N-MC cells. Ex. 26, Benschop at p. 579-81.

       88.     Galcanezumab has a binding affinity to human CGRP of 31 pM as measured by

surface plasmon resonance at 37º C. Ex. 26, Benschop at p. 580.

       89.     Galcanezumab binds to α- and β-CGRP with approximately equal affinity. Ex.

27, Vermeersch at p. 350.

       90.     Upon information and belief, galcanezumab decreases the biological activity of

the CGRP receptor.

       91.     Galcanezumab inhibits cAMP activation in cells. Ex. 26, Benschop at p. 581.

       92.     Galcanezumab preferentially binds to human CGRP as compared to amylin. Ex.

26, Benschop at p. 580.

       93.     The FDA requires that prescription biologic drugs be labeled and/or sold with

package inserts providing information about the drugs and their use, including essential

scientific information needed for safe and effective use, indications and usage, and dosage and

administration. 21 C.F.R. § 201.50 et seq.

       94.     Eli Lilly will market the Galcanezumab Product with labeling and

product information in compliance with FDA requirements.

       95.     The labelling and/or package insert for the Galcanezumab Product will include

instructions for how to use it for the prevention of both episodic and chronic migraine, including
                                                18
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 19 of 39



how to administer an effective dose. 21 C.F.R. §§ 201.55, 201.56, 201.57.

       96.     Eli Lilly will also instruct physicians how to use the Galcanezumab Product for

the prevention of both episodic and chronic migraine, including how to administer an effective

dose consistent with the FDA-approved instructions.

                        COUNT I FOR INFRINGEMENT AS TO THE
                                     ’045 PATENT

       97.     Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-96.

       98.     Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       99.     The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’045 patent.

       100.    Upon information and belief, Defendant is actively inducing others to infringe

the ’045 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       101.    Upon information and belief, Defendant has been and is contributing to the

infringement of the ’045 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

                                                 19
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 20 of 39



infringing use.

       102.       Upon information and belief, Defendant will continue to indirectly infringe the

’045 patent unless enjoined by this Court.

       103.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’045 patent, Teva has suffered damages.

       104.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’045 patent.

       105.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                          COUNT II FOR INFRINGEMENT AS TO THE
                                       ’649 PATENT

       106.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-105.

       107.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       108.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’649 patent.

       109.       Upon information and belief, Defendant is actively inducing others to infringe

the ’649 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

                                                   20
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 21 of 39



       110.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’649 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       111.       Upon information and belief, Defendant will continue to indirectly infringe the

’649 patent unless enjoined by this Court.

       112.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’649 patent, Teva has suffered damages.

       113.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’649 patent.

       114.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT III FOR INFRINGEMENT AS TO THE
                                       ’951 PATENT

       115.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-114.

       116.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       117.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’951 patent.

       118.       Upon information and belief, Defendant is actively inducing others to infringe

the ’951 patent in this District and elsewhere in the United States by making, offering to sell,

                                                   21
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 22 of 39



selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       119.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’951 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       120.       Upon information and belief, Defendant will continue to indirectly infringe the

’951 patent unless enjoined by this Court.

       121.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’951 patent, Teva has suffered damages.

       122.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’951 patent.

       123.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT IV FOR INFRINGEMENT AS TO THE
                                      ’614 PATENT

       124.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-123.

       125.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

                                                   22
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 23 of 39



Galcanezumab Product in the United States.

       126.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’614 patent.

       127.       Upon information and belief, Defendant is actively inducing others to infringe

the ’614 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       128.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’614 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       129.       Upon information and belief, Defendant will continue to indirectly infringe the

’614 patent unless enjoined by this Court.

       130.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’614 patent, Teva has suffered damages.

       131.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’614 patent.

       132.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.
                                                   23
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 24 of 39




                          COUNT V FOR INFRINGEMENT AS TO THE
                                      ’881 PATENT

       133.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-132.

       134.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       135.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’881 patent.

       136.       Upon information and belief, Defendant is actively inducing others to infringe

the ’881 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       137.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’881 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       138.       Upon information and belief, Defendant will continue to indirectly infringe the

’881 patent unless enjoined by this Court.

                                                  24
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 25 of 39



       139.    Upon information and belief, as a result of Defendant’s indirect infringement of

the ’881 patent, Teva has suffered damages.

       140.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’881 patent.

       141.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                       COUNT VI FOR INFRINGEMENT AS TO THE
                                    ’907 PATENT

       142.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-141.

       143.    Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       144.    The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’907 patent.

       145.    Upon information and belief, Defendant is actively inducing others to infringe

the ’907 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       146.    Upon information and belief, Defendant has been and is contributing to the

infringement of the ’907 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

                                                 25
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 26 of 39



Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       147.       Upon information and belief, Defendant will continue to indirectly infringe the

’907 patent unless enjoined by this Court.

       148.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’907 patent, Teva has suffered damages.

       149.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’907 patent.

       150.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT VII FOR INFRINGEMENT AS TO THE
                                      ’908 PATENT

       151.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-150.

       152.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       153.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’908 patent.

       154.       Upon information and belief, Defendant is actively inducing others to infringe

the ’908 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

                                                   26
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 27 of 39



patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       155.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’908 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       156.       Upon information and belief, Defendant will continue to indirectly infringe the

’908 patent unless enjoined by this Court.

       157.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’908 patent, Teva has suffered damages.

       158.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’908 patent.

       159.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                        COUNT VIII FOR INFRINGEMENT AS TO THE
                                      ’210 PATENT

       160.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-159.

       161.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       162.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’210 patent.

                                                   27
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 28 of 39



       163.       Upon information and belief, Defendant is actively inducing others to infringe

the ’210 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       164.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’210 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       165.       Upon information and belief, Defendant will continue to indirectly infringe the

’210 patent unless enjoined by this Court.

       166.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’210 patent, Teva has suffered damages.

       167.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’210 patent.

       168.       This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT IX FOR INFRINGEMENT AS TO THE
                                      ’211 PATENT

       169.       Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-168.

                                                   28
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 29 of 39



       170.       Upon information and belief, having received FDA approval, Defendant is

currently manufacturing, marketing, selling, offering to sell, promoting, and/or importing the

Galcanezumab Product in the United States.

       171.       The Galcanezumab Product and/or its use satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’211 patent.

       172.       Upon information and belief, Defendant is actively inducing others to infringe

the ’211 patent in this District and elsewhere in the United States by making, offering to sell,

selling, importing and otherwise promoting and distributing the Galcanezumab Product in the

United States in violation of 35 U.S.C. § 271(b). Defendant’s inducement includes, without

limitation and with specific intent to encourage direct infringement, knowingly inducing

patients and/or physicians to use and/or prescribe the Galcanezumab Product in accordance

with the FDA-approved label for the Galcanezumab Product.

       173.       Upon information and belief, Defendant has been and is contributing to the

infringement of the ’211 patent in this District and elsewhere in the United States by making,

offering to sell, selling, importing and otherwise promoting and distributing the Galcanezumab

Product in violation of 35 U.S.C. § 271(c). Upon information and belief, the Galcanezumab

Product is not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       174.       Upon information and belief, Defendant will continue to indirectly infringe the

’211 patent unless enjoined by this Court.

       175.       Upon information and belief, as a result of Defendant’s indirect infringement of

the ’211 patent, Teva has suffered damages.

       176.       Upon information and belief, Defendant will knowingly and willfully infringe

the ’211 patent.
                                                  29
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 30 of 39



       177.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                      COUNT X FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’045 PATENT

       178.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-177.

       179.    Upon information and belief, Defendant intends to manufacture, market, sell,

offer to sell, and/or import the Galcanezumab Product immediately upon receiving FDA

approval.

       180.    Defendant’s submission of a BLA to the FDA, coupled with Defendant’s

activities in support of its manufacture, importation, and launch of the Galcanezumab Product

for commercial sale in the United States upon receiving that approval, creates an actual,

immediate, and real controversy within the Declaratory Judgment Act regarding Defendant’s

infringement, or active inducement and/or contribution to infringement of, valid and

enforceable claims of the ’045 patent before its expiration in violation of 35 U.S.C. § 271(a),

(b), or (c). Defendant’s actions have created in Teva a reasonable apprehension of irreparable

harm and loss resulting from Defendant’s imminently infringing activities.

       181.    The Galcanezumab Product and/or its use satisfies each element and

infringes, either literally or under the doctrine of equivalents, one or more claims of the ’045

patent. A judicial declaration of infringement is necessary and appropriate to resolve this

controversy.

       182.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’045 patent.

       183.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                                 30
        Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 31 of 39



                      COUNT XI FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’649 PATENT

       184.     Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-183.

       185.     Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving the

FDA approval.

       186.     Defendant’s submission of a BLA to the FDA, coupled with Defendant’s

activities in support of its manufacture, importation, and launch of the Galcanezumab Product

for commercial sale in the United States upon receiving that approval, creates an actual,

immediate, and real controversy within the Declaratory Judgment Act regarding Defendant’s

direct infringement, or active inducement and/or contribution to infringement of, valid and

enforceable claims of the ’649 patent before its expiration in violation of 35 U.S.C. § 271(a),

(b), or (c). Defendant’s actions have created in Teva a reasonable apprehension of irreparable

harm and loss resulting from Defendant’s imminently infringing activities.

       187.     Galcanezumab and/or its manufacture satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’649 patent. A

judicial declaration of infringement is necessary and appropriate to resolve this controversy.

       188.     Upon information and belief, Defendant will knowingly and willfully infringe

the ’649 patent.

       189.     This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                      COUNT XII FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’951 PATENT

       190.     Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-189.

       191.     Upon information and belief, Defendant intends to manufacture, market,
                                                 31
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 32 of 39



sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

       192.     Defendant’s submission of a BLA to the FDA, coupled with Defendant’s

activities in support of its manufacture, importation, and launch of the Galcanezumab Product

for commercial sale in the United States upon receiving that approval, creates an actual,

immediate, and real controversy within the Declaratory Judgment Act regarding Defendant’s

direct infringement, or active inducement and/or contribution to infringement of, valid and

enforceable claims of the ’951 patent before its expiration in violation of 35 U.S.C. § 271(a),

(b), or (c). Defendant’s actions have created in Teva a reasonable apprehension of irreparable

harm and loss resulting from Defendant’s imminently infringing activities.

       193.     Galcanezumab and/or its manufacture satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’951 patent. A

judicial declaration of infringement is necessary and appropriate to resolve this controversy.

       194.     Upon information and belief, Defendant will knowingly and willfully infringe

the ’951 patent.

       195.     This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                      COUNT XIII FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’614 PATENT

       196.     Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-195.

       197.     Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

       198.     Defendant’s submission of a BLA to the FDA, coupled with Defendant’s

                                                 32
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 33 of 39



activities in support of its manufacture, importation, and launch of the Galcanezumab Product

for commercial sale in the United States upon receiving that approval, creates an actual,

immediate, and real controversy within the Declaratory Judgment Act regarding Defendant’s

direct infringement, or active inducement and/or contribution to infringement of, valid and

enforceable claims of the ’614 patent before its expiration in violation of 35 U.S.C. § 271(a),

(b), or (c). Defendant’s actions have created in Teva a reasonable apprehension of irreparable

harm and loss resulting from Defendant’s imminently infringing activities.

       199.    The Galcanezumab Product and/or its manufacture satisfies each element and

infringes, either literally or under the doctrine of equivalents, one or more claims of the ’614

patent. A judicial declaration of infringement is necessary and appropriate to resolve this

controversy.

        200.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’614 patent.

        201.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                      COUNT XIV FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’881 PATENT

        202.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-201.

        203.    Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

        204.    Defendant’s submission of a BLA to the FDA, coupled with Defendant’s

activities in support of its manufacture, importation, and launch of the Galcanezumab Product

for commercial sale in the United States upon receiving that approval, creates an actual,

                                                 33
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 34 of 39



immediate, and real controversy within the Declaratory Judgment Act regarding Defendant’s

direct infringement, or active inducement and/or contribution to infringement of, valid and

enforceable claims of the ’881 patent before its expiration in violation of 35 U.S.C. § 271(a),

(b), or (c). Defendant’s actions have created in Teva a reasonable apprehension of irreparable

harm and loss resulting from Defendant’s imminently infringing activities.

       205.    The Galcanezumab Product and/or its manufacture satisfies each element and

infringes, either literally or under the doctrine of equivalents, one or more claims of the ’881

patent. A judicial declaration of infringement is necessary and appropriate to resolve this

controversy.

       206.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’881 patent.

       207.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                      COUNT XV FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’907 PATENT

       208.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-207.

       209.    Upon information and belief, Defendant intends to manufacture, market, sell,

offer to sell, and/or import the Galcanezumab Product immediately upon receiving FDA

approval.

       210.    Defendant’s submission of a BLA to the FDA, and acceptance by the FDA,

coupled with Defendant’s activities in support of its manufacture, importation, and launch of

the Galcanezumab Product for commercial sale in the United States upon receiving that

approval, creates an actual, immediate, and real controversy within the Declaratory Judgment

Act regarding Defendant’s infringement, or active inducement and/or contribution to

                                                 34
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 35 of 39



infringement of, valid and enforceable claims of the ’907 patent before its expiration in

violation of 35 U.S.C. § 271(a), (b), or (c). Defendant’s actions have created in Teva a

reasonable apprehension of irreparable harm and loss resulting from Defendant’s imminently

infringing activities.

        211.    The Galcanezumab Product and/or its use satisfies each element and

infringes, either literally or under the doctrine of equivalents, one or more claims of the ’907

patent. A judicial declaration of infringement is necessary and appropriate to resolve this

controversy.

        212.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’907 patent.

        213.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT XVI FOR DECLARATORY JUDGMENT
                         OF INFRINGEMENT AS TO THE ’908 PATENT

        214.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-213.

        215.    Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

        216.    Defendant’s submission of a BLA to the FDA, and acceptance by the FDA,

coupled with Defendant’s activities in support of its manufacture, importation, and launch of

the Galcanezumab Product for commercial sale in the United States upon receiving that

approval, creates an actual, immediate, and real controversy within the Declaratory Judgment

Act regarding Defendant’s direct infringement, or active inducement and/or contribution to

infringement of, valid and enforceable claims of the ’908 patent before its expiration in

                                                 35
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 36 of 39



violation of 35 U.S.C. § 271(a), (b), or (c). Defendant’s actions have created in Teva a

reasonable apprehension of irreparable harm and loss resulting from Defendant’s imminently

infringing activities.

        217.    Galcanezumab and/or its manufacture satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’908 patent. A

judicial declaration of infringement is necessary and appropriate to resolve this controversy.

        218.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’908 patent.

        219.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                         COUNT XVII FOR DECLARATORY JUDGMENT
                          OF INFRINGEMENT AS TO THE ’210 PATENT

        220.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-219.

        221.    Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

        222.    Defendant’s submission of a BLA to the FDA, and acceptance by the FDA,

coupled with Defendant’s activities in support of its manufacture, importation, and launch of

the Galcanezumab Product for commercial sale in the United States upon receiving that

approval, creates an actual, immediate, and real controversy within the Declaratory Judgment

Act regarding Defendant’s direct infringement, or active inducement and/or contribution to

infringement of, valid and enforceable claims of the ’210 patent before its expiration in

violation of 35 U.S.C. § 271(a), (b), or (c). Defendant’s actions have created in Teva a

reasonable apprehension of irreparable harm and loss resulting from Defendant’s imminently

                                                 36
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 37 of 39



infringing activities.

        223.    Galcanezumab and/or its manufacture satisfies each element and infringes,

either literally or under the doctrine of equivalents, one or more claims of the ’210 patent. A

judicial declaration of infringement is necessary and appropriate to resolve this controversy.

        224.    Upon information and belief, Defendant will knowingly and willfully infringe

the ’210 patent.

        225.    This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                     COUNT XVIII FOR DECLARATORY JUDGMENT
                      OF INFRINGEMENT AS TO THE ’211 PATENT

        226.    Teva realleges and incorporates by reference the allegations contained in ¶¶ 1-225.

        227.    Upon information and belief, Defendant intends to manufacture, market,

sell, offer to sell and/or import the Galcanezumab Product immediately upon receiving

FDA approval.

        228.    Defendant’s submission of a BLA to the FDA, and acceptance by the FDA,

coupled with Defendant’s activities in support of its manufacture, importation, and launch of

the Galcanezumab Product for commercial sale in the United States upon receiving that

approval, creates an actual, immediate, and real controversy within the Declaratory Judgment

Act regarding Defendant’s direct infringement, or active inducement and/or contribution to

infringement of, valid and enforceable claims of the ’211 patent before its expiration in

violation of 35 U.S.C. § 271(a), (b), or (c). Defendant’s actions have created in Teva a

reasonable apprehension of irreparable harm and loss resulting from Defendant’s imminently

infringing activities.

        229.    Galcanezumab and/or its manufacture satisfies each element and infringes,

                                                 37
         Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 38 of 39



either literally or under the doctrine of equivalents, one or more claims of the ’211 patent. A

judicial declaration of infringement is necessary and appropriate to resolve this controversy.

        230.   Upon information and belief, Defendant will knowingly and willfully infringe

the ’211 patent.

        231.   This case is exceptional, and Teva is entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                     PRAYER FOR RELIEF

       WHEREFORE, Teva prays for judgment against Defendant Eli Lilly and Company and

respectfully requests the following relief:

       A.      A judgment that Eli Lilly’s commercial manufacture and launch of its

               Galcanezumab Product upon FDA approval of its BLA will infringe each of the

               Patents-in-Suit,

       B.      Any available injunctive relief to prevent the commercial manufacture, use, offer

               to sell, or sale of the Galcanezumab Product pursuant to 35 U.S.C. § 283,

               28 U.S.C. § 2202, and FED. R. CIV. P. 65;

       C.      Any available damages pursuant to 35 U.S.C. § 284;

       D.      A judgment that this is an exceptional case and that Plaintiffs be awarded

               their attorneys’ fees incurred in this action pursuant to 35 U.S.C. § 285;

       E.      Costs and expenses in this action; and

       F.      Such other and further relief as the Court deems just and appropriate.

       G.      Teva demands a jury for all claims so triable.




                                                38
        Case 1:18-cv-12029-ADB Document 1 Filed 09/27/18 Page 39 of 39



Dated: September 27, 2018              Respectfully submitted,

                                       /s/ Douglas J. Kline
                                       Douglas J. Kline (BBO# 556680)
                                       Elaine Herrmann Blais (BBO# 656142)
                                       GOODWIN PROCTER LLP
                                       100 Northern Avenue
                                       Boston, MA 02210
                                       Tel.: (617) 570-1000
                                       Fax: (617) 523-1231
                                       dkline@goodwinlaw.com
                                       eblais@goodwinlaw.com

                                       Neel Chatterjee (pro hac vice forthcoming)
                                       GOODWIN PROCTER LLP
                                       601 Marshall Street
                                       Redwood City, CA 94063
                                       Tel.: (650) 752-3100
                                       Fax: (650) 853-1038
                                       nchatterjee@goodwinlaw.com

                                       Attorneys for Plaintiffs




                                      39
